      Case 18-27963-MBK             Doc 189-1 Filed 10/17/18 Entered 10/17/18 10:56:02                         Desc
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Form tsntc

                                    UNITED STATES BANKRUPTCY COURT


District of New Jersey
402 East State Street
Trenton, NJ 08608

                                          Case No.: 18−27963−MBK
                                          Chapter: 11
                                          Judge: Michael B. Kaplan

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Duro Dyne National Corp.
   100 Horizon Center Boulevard
   Hamilton, NJ 08691
Social Security No.:

Employer's Tax I.D. No.:
  11−2504664




                                      Notice That a Transcript Has Been Filed



        You are Noticed that a Transcript has been filed on 10/17/18. Pursuant to the Judicial Conference Policy on
Privacy, access to this transcript is restricted for a period of ninety days from the date of filing. The transcript may be
viewed at the Bankruptcy Court Clerk's Office. [For information about how to contact the transcriber, please call the
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financial account data, names of minor−age children, dates of birth, and home addresses. If redaction is requested,
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Dated: October 17, 2018
JAN:

                                                                         Jeanne Naughton
                                                                         Clerk
